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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Washington Fleld Office

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Washington, DC 20507

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Website: www.cete nov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 04/22/2022

To: Mr. Alex Green
301 N. Beauregard St Unit 205
ALEXANDRIA, VA 22312

Charge No: 570-2022-00254

EEOC Representative and email: Natnael Worku
Investigator /
natnael.worku@eeoc.gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 570-2022-00254.

On behalf of the Commission,

Digitally Signed By:Mindy Weinstein
04/22/2022

Mindy Weinstein
Director

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Hobby Lobby Incident
Alexandria Store
Saturday, Sept.25, 2021

Estimated Time of Incident: 1:30 PM

When | arrived to work on Saturday, Sept.25, Keith was standing near the
manager’s office and he informed me that “he was not schedule to be
working today and it was Chris supervising the staff’s tasks today.” He then
requested that | go “tidy up the front storage room” (a very arduous project
for one person and that him and | started earlier in the week). As | was
tiding up the storage room, Ms. Joyce page me to come with a mop and
bucket to mop up some paint that a customer spilled. | said to her, “I’m not
the only male here and you could have summoned another male to
perform this tedious task. “ She responded with, “I was informed by Keith
and Chris to call for you when | needed a mop for spills.” After completing
that task, | returned to the storage room to finish the task Keith had
assigned me to do. About five minutes later, | received a page from the
register to go outside in retrieve the carts and wiped them down. Once |
returned from retrieving several carts from outside, Keith, without
provocation, stated, “Let me show you how to wipe down these carts,
because | know how older people are very forgetful.” Please note, that
wiping down carts doesn’t require critical thinking and | was previously
trained by the store manager (her emphasis was on not having the cleaner
touch the floor) and several female staffers. Upon completing that task
Chris adamantly inquired, “Alex did you get all the carts from outside? You
know this is really a job for young people because you got to go outside a
lot.” | responded with a yes sir and informed him that I’ve sterilized all of
them. . He then gave me a directive to “sweep the floor, especially in the
Halloween” section due to the amount of debris that was on the floor.
About 5 minutes later there was an overhead page for me to report to the
front for a cashier. Before | could respond to the page, | had taken up the
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pile of debris to ensure the safety of the customers, which is a basic tenent
of Hobby Lobby. After taking up the trash, | preceded to the front where
the cashiers are station. Keith was standing by the carts when | came out of
the Halloween isle, he then yelled “did you hear that page” and | responded
with “yes sir | did. However, “I had to remove the trash out of that isle”. He
then yelled “you respond so slow and take that ear piece out of your ear”
(without even inquiring was it a hearing aid that | needed). As | preceded to
remove the ear piece, he yelled “You out of here and go punch out.” He
then called Chris on his Walkie Talkie and stated, “Alex is out of here.” |
then proceeded to punch out and when | was about halfway down the
escalator, Chris, several steps above me, startled me when he yelled, “Did
you punch out Alex.” | regain my composure and politely said yes | did.
Then he stated, “I’m sorry it didn’t work out.” | inquired, are you saying I’m
terminated and he responded with an affirmative “Yes you are.” | then
came back upstairs to retrieve my items from my locker and then left the
store. It’s imperative to note that Chris was not present when Keith had his
emotional outburst with me. Furthermore, it’s my understanding that all
activities are recorded and the time clock will verify when | punched out).
On several previous occasions | had asked Keith to be my mentor to
become a Cashier and eventually an Assistant Manager. He responded,
can show how to be an Assistant Manager, but the Cashier Jobs are for
young people.” When | inquired why that job was for young people only, he
adamantly stated, “it’s a fast pace position.” | responded, “if it’s a fast pace
position, why are the customer’s lines are consistently so long.” He replied,
“\ didn’t trained all of them (to imply that their training was substandard
because he didn’t trained them).” | notice the younger employees were
assigned departments to manage and decorate. At no time was | offer the
opportunity to run a department, even when there was a shortage of staff.
On another occasion, when | would wear Cowboy boots to work (| then
would put on my work shoes that | placed in the locker), Chris inquired,
“Where are you from, because | see you wear cowboy boots a lot and |!
thought only young people wear boots in the summer.” | informed him that
| visit Huston, Texas often and boots are warned all year round, especially
in the summer because they are cooler than leather shoes.

“|
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Keith and Chris had conspired to force me out. They would often assigned
me tedious tasks like sweeping the floor or cleaning bathrooms, as way of
disregarding my education, (which neither Keith nor Chris read my resume
completely) and made the work environment very stressful and
threatening. For example, two weeks prior to this incident, Keith in the
present of a female supervisor and other female staffers, yelled at me, “You
don’t want to get on the wrong side of me Alex.” On another occasion,
Keith, in the present of Sue (Store Manager) accused me of “Stealing
Time.” | asked him to explain what is “Stealing Time”? He stated, “When
you punch in before being in uniform.” | respectfully informed him that |
was never informed of that and if you read my resume, you would know
that I’ve not a punch a clock in over 30 years, and that’s an insult to my
integrity. | felt so embarrassed and felt like | was a constant target for his
insults. Their behavior is not congruent with the Hobby Lobby’s Mission
Statement or Policies and Procedures. Hobby Lobby basic biblical tenet is to
treat staff and customers with the upmost respect and to utilize integrity
when interacting with the staff. Keith and Christ conspired to defame my
character, by stating, that they gave me a directive and | said no and walked
out of the store. When Keith and Chris conspired to lie about the incident
of September 25, 2021, it behooves one to ponder what else they have lied
about and their behavior is not consistent with Keith favorite saying
“Integrity.” This is critical, because on several occasions Keith would
question my integrity without provocation. When Keith or Chris assigned
me a task, (mainly sweeping the floor) they would often inquired, “Did you
get all the isles?”

Note: I’ve met with Ms. Sue (Store Manager) on 9/27/21. She informed me
that “Keith and Chris gave you a directive and you said no and left
the building.” She went on to inform me that Keith would be out for
two weeks due to training and vacation and stated “I will notify you
after | speak to Keith. Also, you know Keith and Chris will have some
resentments towards you if you come back.” | informed her that |
know how to deal with Keith and Chris, because of my background in
behavioral health. Also, they lied and Chris was not there when Keith
told me to punch out. | requested that she call Chris to the office and
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’ll tell him to his face that he lied. She stated, “Alex that’s not
necessary. “

On 9/29/2021 | met with Sue to inquire would | be paid while she’s waiting
for Keith to return and she informed me that | was “taken out of the
system and would not be paid while Keith is out.”

On 10/4/21, Contacted Ms. Cheryl (Hobby Lobby HR rep.) to obtain

Information regarding filing a “Grievance.” She dismissed me.and
instructed me to speak with a manager before calling her. |
informed her that “] spoke with the manager prior to calling

”

you.

On 10/11/21 | met with Sue (the store manager) again and she stated, “1
have not spoken to Keith as of yet and do you really want to
return to work here?” | unaquicvalcally stated. “I do.”

On 10/13/21 | met with Sue and she stated, “Alex write up an incident
report and I'll investigate this matter.” | informed her that | will
return later today with the report. However, when | returned
with the report, Sue stated, “I’m off Alex and I’m going home.
This was the beginning of several avoidance tactics Ms. Sue
employed to not receive this incident report from me.

On 10/15/21 | went to deliver the incident report to Sue (Store Manager)
and she stated, “I’m off, leaving for the day and I’m not dealing
with this (referring to the incident report) when I’m off from
work. | inquired would she be working tomorrow and she said
yes and would contact me.

Note: As of this writing the Store Manager and the HR Rep has not
contacted me.
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If you need additional information, you can call me at 443-422-0780.
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Alex Green’s Rebuttal of Hobby Lobby Position
EEOC #: 570-2022-00254
March 14, 2022

| adamantly refute Hobby Lobby’s position that my claim has no
merit. . -

First, there nothing in the employee manual that states an Stockman
is prohibit from requesting to be trained for a position that he’s has
the skills to perform the required duties, such as my request to be
trained as a Cashier.

Second, Hobby Lobby claim to “strictly prohibits discrimination and
committed to providing a workplace free from such behavior, is only a
written statement and not practice at this store. Mr. Pierre
statement, “the cashier position is for young people and requires you
to be fast” and Mr. Metz repeated comments, “Only young people
wear cowboy boots in the summer”, is surely in violation of their
policy.

“Comments or actions that negatively or stereotypically relate to an
individual age, etc. is prohibited.” (Harassment, Discrimination, and
Retaliation Prevention, HL 1, pg.7)

Third, Hobby Lobby claim that | abandon my job is not the truth. The
cameras and time clock will support the fact that | punched out based
on Mr. Pierce yelling, “You are out of here and punch out, as he
relayed this statement to Mr. Metz on the walkie talkie. Also, | had no
earbuds in my ears. | had one earpiece in my right ear only and this
can be verified by the store cameras. Furthermore, When | met with
the store manager (Ms. Sue returning from vacation) on 9/27/2021
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she informed me that | was taking out of the system on 9/25/21, prior
to any investigation to established the facts. This can be verified by
Hobby Lobby computerized record system.

“Managers and supervisors must report all complaints and knowledge
of discrimination, retaliation, etc. or other prohibited conduct to
Corporate Human Resources, (HL 1, pg.8)..,

Fourth, Out of 13 Departments in the store, only one department,
Wearables ( Headed by Ms. Julia), was assigned to a person over 50
years of age, the 12 remaining departments are headed primarily by
employees under 50 years of age. This appears to be reflective of their
core beliefs about staff’s age?

Fifth, Hobby Lobby claim that “I demonstrated poor performance and
abysmal attendance.” If my performance was so poor, where is the
documentation supporting this position? Also, if my performance and
attendance was abysmal, where’s the signed/dated documentation
that an intervention was ever discussed or warranted.

Six, Hobby Lobby claim that on “September 25, 2021 arrived 2 hours
late is false. Arrived to work as | was requested to do so by Mr. Chris
so that | would be there to closing time. Furthermore, Mr. Pierre
claimed that he “called my name several times” is false. He was not
aware that | was sweeping and removing debris from the Halloween’s
isle that Mr. Keith had instructed me to do. After disposing of the
trash, | proceeded to respond to the cashier overhead page and as |
came out of the Halloween isle Mr. Keith commence to yell at me and
would not allow me to inform him that | was completing a task that
Mr. Chris assigned me to ensure the safety of the customers (a
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customer could slip and fall from the amount of debris that was in the
Halloween isles), and this was the priority, before answering a page.

“Using language or engaging in behavior that is discriminatory,
threatening, abusive, etc., is unacceptable (HL3, pg.33).”

Finally, January or Early February 2022: Manager Sue and Leland Chris
Metz, Assistant Manager (Store #864 in Alexandria, Va.) was
terminated for claim against Mr. Metz for sexual harassment of an
female employee and Ms. Sue termination was due to her refusing to
conduct an investigation of the sexual harassment claim and colluding
with Mr. Metz to conceal this incident from corporate management.
This is pertinent to my case due to her refusal or negligence to
investigate my case, when she assured me that an investigation would
take place.

“Managers and supervisors must report all complaints and knowledge
of discrimination, retaliation, etc. or other prohibited conduct to
Corporate Human Resources, (HL 1, pg.8).

I’m requesting financial compensation in the amount of $50,313 due
to loss wages, defamation of character and mental distress.
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HL 3

EMPLOYEE CONDUCT RULES

All employees are expected to: (i) exhibit a high degree of personal integrity and conduct themselves in a
professional and respectful manner at all times; (ii) use good judgment and common sense in making work-related
decisions and be accountable for their actions; and (iii) respect others and refrain from conduct that might be
harmful to coworkers or the Company’s business.

Conduct the Company deems unacceptable includes, but is not limited to, the following:

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Poor job performance or other behavior that does not meet the requirements of the position, or
failing to meet management’s expectations.

Poor customer service.

Excessive absences or tardies.

Misuse or fraudulent use of paid and/or protected time off.
Insubordination or refusal to comply with a supervisor’s instructions.
Failure to perform assigned duties.

Theft, fraud, dishonesty, issuing fraudulent refunds, writing insufficient-funds checks, destroying
merchandise or property, violating criminal laws, or engaging in any conduct that results in a loss
or increased risk to the Company.

Engaging in activity which management deems a conflict of interest, such as: granting
unauthorized discounts; conducting unauthorized transactions; or assessing, writing tickets for,
or working on framing orders for oneself or one’s family or friends without approval by
management.

Consuming, possessing, and/or being impaired by, or under the influence of, Drugs or Alcohol
on the Company’s premises or job site, and/or during or immediately prior to the employee’s
work shift, whether on break or not.

Using language or engaging in behavior that is discriminatory, threatening, intimidating, coercive,
abusive, profane, disrespectful or discourteous to a customer or any member of the public while
performing work for the Company or on Company premises.

Conduct inconsistent with the Company’s “Harassment, Discrimination, and Retaliation
Prevention” policy.

Obscene or abusive conduct on Company property or while representing the Company.
Failing to comply with the Company’s “Safety Rules.”
Fighting, horseplay, practical jokes, disorderly or similar conduct.

Use of personal phones (except in an emergency or with permission of the employee’s
supervisor), recording equipment, or other personal electronic devices during working time
without prior approval.

Interfering with the work performance of fellow employees.

Falsification of Company records, including but not limited to, employment applications or time

tecords.
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HL 1

HARASSMENT, DISCRIMINATION, AND RETALIATION PREVENTION

The Company is an equal opportunity employer. The Company is committed to providing a work
environment free of discrimination, harassment, and other conduct based on sex (including pregnancy, childbirth,
lactation and related medical conditions), race, religion (including religious dress and grooming practices), color,
national origin, physical or mental disability, genetic information, age, military and veteran status, or any other
basis protected by federal, state, or local law. Discrimination, including harassment, based on any protected basis
is unlawful and is a violation of Company policy. In addition, the Company prohibits retaliation against individuals
who raise complaints of discrimination or harassment or who participate in workplace investigations.

This policy applies to all terms and conditions of employment, including but not limited to hiring,
promotion, termination, discipline, reduction in force, transfer, leaves of absence, compensation, and traiming.

Examples of Prohibited Conduct

Prohibited conduct includes, but is not limited to, the following:

Comments or actions that negatively or stereotypically relate to an individual’s race, sex, color,
religion, pregnancy, national origin, age, physical or mental disability, genetic information,
military and veteran status, or other status, condition or characteristic protected by law;

Comments or actions that negatively or stereotypically relate to a perceived protected
characteristic or status of the employee or perceived characteristic or status of a person associated

with the employee;

Oral statements that include, but are not limited to, epithets (i.¢., offensive nicknames or labels),
derogatory jokes or comments, slurs or unwanted sexual advances, invitations, comments, posts,
or messages;

Visual displays that include, but are not limited to, derogatory and/or sexually-oriented posters,
photography, cartoons, drawings, or gestures;

Physical conduct that includes, but is not limited to, assault, unwanted touching, intentionally
blocking normal movement, or interfering with work because of any protected basis stated above;

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18. Use of the Company's proprietary information, equipment, materials, and/or work time for
unauthorized purposes.

19. Working off the clock, failing to properly clock in or out, or clocking in or out for another
employee.
20. Refusing to cooperate fully in any investigation that the Company may undertake.

21. Engaging in other conduct constituting a failure to work in a cooperative manner with
management, coworkers, or vendors.

Any employee who violates these Employee Conduct Rules, or any other Company policy,
procedure, practice, or rule may, in the sole discretion of management, be subject to disciplinary action, up
to and including termination of employment. Nothing in these Employee Conduct Rules alters the at-will
employment relationship between the Company and its employees.

34 February 2021
